           Case 2:05-cr-00384-WBS Document 42 Filed 01/19/07 Page 1 of 3


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     Sacramento, California 95814
3    Telephone: (916) 447-0160
4
5    Attorney for Defendant
     JOSE ANGEL BUSTAMANTE
6
7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
11   UNITED STATES OF AMERICA,       )     No. 05-0384 WBS
                                     )
12                  Plaintiff,       )
                                     )     STIPULATION AND ORDER VACATING
13        v.                         )     DATE, CONTINUING CASE, AND
                                     )     EXCLUDING TIME
14   JOSE ANGEL BUSTAMANTE, et al.   )
                    Defendant.       )
15                                   )     Date: February 26, 2007
     _______________________________ )     Time: 8:30 a.m.
16                                   )     Judge: Hon. Shubb
17
18        IT IS HEREBY STIPULATED by and between Assistant United States
19   Attorney CAROLYN DELANEY, Counsel for Plaintiff, and Attorney Dina L.
20   Santos, Counsel for Defendant JOSE ANGEL BUSTAMANTE, attorney VICTOR
21   HALTOM, counsel for SANTOS BUSTAMANTE, and attorney RUSSELL HUMPHREY,
22   counsel for SANTOS FELIX, that the status conference scheduled for
23   January 22, 2007, be vacated and the matter be continued to this
24   Court's criminal calendar on February 26, 2007 at 8:30 a.m, for status
25   and possible change of plea.
26        This continuance is requested by the defense due to new
27   developments in negotiations, to permit further client consultation,
28   consultation with the government concerning a number of factual and
            Case 2:05-cr-00384-WBS Document 42 Filed 01/19/07 Page 2 of 3


1    legal issues and the possibility of reaching a negotiated settlement.
2    All counsel therefore seek additional necessary preparation time.
3
4          IT IS FURTHER STIPULATED that time for trial under the Speedy
5    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
6    3161(h)(8)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
7    ends of justice served in granting the continuance and allowing the
8    defendant further time to prepare outweigh the best interests of the
9    public and the defendant in a speedy trial.
10         The Court is advised that all counsel have conferred about this
11   request, that they have agreed to the February 26, 2007, date, and that
12   Ms. Delaney has authorized Ms. Santos to sign this stipulation on her
13   behalf.
14         IT IS SO STIPULATED.
15
16   Dated: January 18, 2007                  /S/ Dina L. Santos
                                             DINA L. SANTOS
17                                           Attorney for Defendant
                                             JOSE ANGEL BUSTAMANTE
18
     Dated: January 18, 2007                  /S/ Victor Haltom
19                                           VICTOR HALTOM
                                             Attorney for Defendant
20                                           SANTOS BUSTAMANTE
21   Dated: January 18, 2007                  /S/ Russell Humphrey
                                             RUSSELL HUMPHREY
22                                           Attorney for Defendant
                                             SANTOS FELIX
23
     Dated: January 18, 2007                  /S/ Carolyn Delaney
24                                           CAROLYN DELANEY
                                             Assistant United States Attorney
25                                           Attorney for Plaintiff
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     Stipulation and Order                   2
            Case 2:05-cr-00384-WBS Document 42 Filed 01/19/07 Page 3 of 3


1                                       O R D E R
2          IT IS SO ORDERED.
3                      By the Court,
4
5    Dated: January 19, 2007
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     Stipulation and Order                   3
